     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 1 of 70 Page ID #:1




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10
                            UNITED STATES DISTRICT COURT
11
                          CENTRAL DISTRICT OF CALIFORNIA
12
13    MILESTONE ENTERTAINMENT,                Case No. 2:24-cv-04056
      LLC,
14                                            COMPLAINT FOR PATENT
15                       Plaintiff,           INFRINGMENT
16          v.                                DEMAND FOR JURY TRIAL
17    ACTIVISION BLIZZARD, INC.,
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                         Defendant.
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                                                                        COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 2 of 70 Page ID #:2




 1         Plaintiff Milestone Entertainment, LLC. (“Milestone”) (“Plaintiff”), by and
 2   through its attorneys, files this Complaint for Patent Infringement against Defendant
 3   Activision Blizzard, Inc. (“Activision Blizzard” or “Defendant”) and allege as follows:
 4   I.    NATURE OF THE ACTION
 5         1.     This is an action for patent infringement of U.S. Patent Nos. 8,529,336 (the
 6   “336 Patent”), 11,335,164 (the “164 Patent”), 11,393,279 (the “279 Patent”), 10,650,635
 7   (the “635 Patent”), 11,501,607 (the “607 Patent”), and 10,825,294 (the “294 Patent”),
 8   (collectively, the “Asserted Patents”). This action arises under the patent laws of the
 9   United States, Title 35, United States Code, including 35 U.S.C. § 271.
10   II.   THE PARTIES
11         2.     Plaintiff Milestone is incorporated under the laws of Delaware with its
12   principal place of business at 1012 N. Roxbury Dr, Beverly Hills, California 90210, in
13   the Central District of California.
14         3.     Randall “Randy” Katz, one of the named inventors of the patents asserted
15   in this lawsuit, and the founder of Milestone, is a pioneer in the field of computerized
16   gaming. Prior to founding Milestone, Mr. Katz held several key positions in the
17   entertainment industry at Sony Pictures Columbia Tri-Star Television and at legendary
18   game show producer, Mark Goodson Productions. At Sony, Mr. Katz established and
19   was president of a new division at Sony’s Columbia TriStar Television Group devoted
20   to developing lottery game shows and interactive games around the world. He worked
21   closely with Sony’s Game Show Network and Sony’s Digital Media division who were
22   responsible for creating new games and uses from famous games like Jeopardy! and
23   Wheel of Fortune.
24         4.     Mr. Katz developed an expertise in how to structure games of chance,
25   games of skill, and combinations of both into engaging and entertaining games that
26   would be popular with the public on every type of screen. And when he was diagnosed
27   with lymphoma in March 2003, he spent his time stuck in treatment envisioning the
28   future of this industry and how they could be improved in the context of widespread

                                                1                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 3 of 70 Page ID #:3




 1   networks or internet connectivity. While these features described in the Asserted Patents
 2   are commonplace today and drive the widespread use and enjoyment of casual gaming
 3   on computing devices that has become a multi-billion dollar industry, they were
 4   anything but common in 2003 when conceived of by Mr. Katz. Consumer Broadband
 5   Internet access was in the early stages of deployment, and the launch of Apple’s iPhone
 6   and high-speed mobile data services were several years away.
 7          5.     Mr. Katz envisioned networked games—of chance, of skill, and
 8   combinations of both—that can comply with the requisite parameters outlined by the
 9   game manufacturer, publisher, or regulator, and that also work in such a way that the
10   structure and prizing of each game is also dynamically altered based on analyzed game
11   play (such as the amount of time played, wins, losses, or other factors). Mr. Katz also
12   envisioned the now-ubiquitous “virtual currency” systems that induce players to
13   continue gameplay, by making game advancement possible through microtransactions
14   or game bonuses. And Mr. Katz envisioned other game features that are also now
15   commonplace in today’s casual games, including imposing geographic, age, and time
16   limits on game play, and establishing networked leaderboards and player groupings.
17          6.     Defendant Activision Blizzard, Inc. (“Activision Blizzard”) is a corporation
18   organized and existing under the laws of the State of Delaware, with its principal place
19   of business located at 2701 Olympic Boulevard, Building B, Santa Monica, California
20   90404 in the Central District of California. Since October 13, 2023, Activision Blizzard
21   is a wholly-owned subsidiary of Microsoft Corporation.
22          7.     Activision Blizzard makes, uses, sells, offers to sell, exports, and/or imports
23   in the United States products, services, and components that have been and are used to
24   infringe one or more claims of the Asserted Patents.
25   III.   JURISDICTION AND VENUE
26          8.     Plaintiffs incorporate the foregoing paragraphs of the Complaint by
27   reference as if fully set for herein.
28          9.     This civil action for patent infringement arises under the patent laws of the

                                                   2                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 4 of 70 Page ID #:4




 1   United States, 35 U.S.C § 1 et seq., including in particular under 35 U.S.C. § 271. This
 2   Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).
 3          10.    This Court has personal jurisdiction over Defendant, and venue is proper in
 4   this district pursuant to 28 U.S.C. § 1400(b), because Activision Blizzard has its
 5   principal place of business in, and resides in this district, and/or because Activision
 6   Blizzard has committed acts of infringement and has a regular and established place of
 7   business in this district.
 8   IV.    THE ASSERTED PATENTS
 9          11.    On September 10, 2013, the United States Patent and Trademark Office
10   duly and legally issued U.S. Patent No. 8,529,336 (the “336 Patent”), entitled
11   “Apparatus, systems, and methods for implementing enhanced gaming and prizing
12   parameters in an electronic environment,” to Randall M. Katz and Gary Dawson. A copy
13   of the 336 Patent is attached to the Complaint as Exhibit A.
14          12.    Milestone is the owner of all right, title, and interest in and to the 336
15   Patent.
16          13.    The 336 Patent is directed to methods of dynamically altering computerized
17   game play by altering the game structure or prizing parameters based on analysis of
18   game play by the computer system. Specifically, the claims recite games that feature a
19   set of “mandated parameters” – a set of game objectives, such as win probability or rate,
20   an amount of time played (engagement), overall prizing payout, or other metric the game
21   designer seeks to achieve. See, e.g., Ex. A (336 Patent), Claim 1. User game play is
22   tracked and analyzed, and on that basis, the game varies a set of game parameters (recited
23   as “variable parameters”), such as the structure of the game (e.g., its difficulty, or game
24   pieces provided) or its prizing, in order to achieve the mandated parameters. Id.
25          14.    The elements claimed by the 336 Patent, taken alone or in combination,
26   were not well-understood, routine or conventional to one of ordinary skill in the art at
27   the time of the invention. Rather, the 336 Patent claims and teaches, inter alia, an
28   unconventional way to use a computer to dynamically alter the structure of networked

                                                 3                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 5 of 70 Page ID #:5




 1   games, or their prizing, based on analysis of game play conditions. As the specification
 2   explains, this capability to analyze game play and programmatically alter the structure
 3   of the game solves a known problem in the field of computerized gaming – how to obtain
 4   a “higher level of audience interest and potential participation” while maintaining a set
 5   of game objectives, such as win probability, or overall prizing payout, that favors the
 6   house. 336 Patent, 13:63-65.
 7         15.    The written description of the 336 Patent describes, in technical detail, each
 8   of the limitations in the claims, allowing a person of skill in the art to understand what
 9   those limitations cover, and therefore what was claimed, and also understand how the
10   non-conventional and non-generic ordered combination of the elements of the claims
11   differ markedly from what had been performed in the industry prior to the inventions of
12   the 336 Patent. As the 336 Patent specification explains, “[e]xemplary mandated
13   parameters may consist of prize pay out and win rates, and may include such factors as
14   the minimum payout amount, the maximum payout amount, a defined percentage
15   payout, the number of prizes, and/or the form of prizes. Within the system, the mandated
16   parameters are generally input to the system, and preferably stored in memory within
17   the system. Having received the mandated parameters, the system processor then selects
18   among dependent variable parameters to implement game play and prizing in a way that
19   achieve the mandated parameters. . . . Within these systems and methods, greater
20   flexibility is achieved with regard to the play on a particular individual event, while
21   achieving the mandated parameters for the game as a whole.” Id. at 5:7-64. “For a given
22   game, there are numerous parameters, including the number of levels in a game, the
23   decision points within the game and desired duration of the play experience. The play
24   experience may be varied such as by awarding extended game play, providing free play
25   awards, advancing a player one or more levels based upon game play and/or the
26   provision of complex decisions. The game play experience may be varied by changing
27   the play probabilities. In one implementation, game play experience may utilize real
28   world probabilities for the game play portion of the experience, but utilize other

                                                 4                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 6 of 70 Page ID #:6




 1   probabilities for the prizing portion of the overall game. By way of example, a simple
 2   probability game such a coin toss should emulate a 50/50 outcome experience as far as
 3   game play goes, but may be subject to a second prizing phase in which the mandated
 4   parameters can be achieved. For example, a prize board may be utilized to reduce the
 5   prizing payout to conform to the mandated parameters. Thus, the game play experience
 6   can feel as if the real world probabilities are being achieved, but the lower prizing payout
 7   be implemented as required by the mandated parameters. The player's win/lose
 8   experience may also be varied. For example, if the player must lose a individual game,
 9   the system may elect to give the user a loss, but one in which they appear to have come
10   ‘close’ to winning a prize.” Id. at 15:63-16:19.
11         16.    The claims of the 336 Patent thereby describe a technological solution to
12   the problems of how to generate “higher level of audience interest and potential
13   participation” while maintaining a set of game objectives, such as win probability, or
14   overall prizing payout, that favors the house. For example, Claim 1 of the 336 Patent
15   recites “receiving mandated parameters, the mandated parameters being those which
16   must be achieved by the system as a whole”, “a processing system coupled to the
17   memory for implementing the mandated parameters by utilizing variable parameters, the
18   processing system utilizing the variable parameters to achieve the mandated
19   parameters,” “performing game analytics on the game play events,” and “varying the
20   displays presented to the user to achieve the mandated parameters.” Id. at Claim 1. None
21   of these elements, taken alone or in combination, were well-understood, routine, or
22   conventional to one of ordinary skill in the art at the time of the invention.
23         17.    The systems and methods covered by the asserted claims, therefore, differ
24   markedly from the prior systems in use at the time of this invention, which, inter alia,
25   lacked these features. By enabling dynamic modifications to the gameplay experience
26   based on analysis of game play, the claims are directed to a specific, unconventional
27   improvement to the way gaming computers operate.
28         18.    Dependent claims of the 336 Patent are further directed to specific,

                                                  5                                   COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 7 of 70 Page ID #:7




 1   unconventional improvements to the way gaming computers operate. For example,
 2   Claims 12, 13, and 20 are directed to enabling cooperative or competitive play between
 3   “multiple users” in the context of dynamic modifications to game play, including leader
 4   boards. Claims 18 and 19 are directed to user registration. Claim 42 is directed to
 5   limiting game play to specific geographic regions. None of these elements, taken alone
 6   or in combination, were well-understood, routine, or conventional to one of ordinary
 7   skill in the art at the time of the invention.
 8          19.    On May 17, 2022, the United States Patent and Trademark Office duly and
 9   legally issued U.S. Patent No. 11,335,164 (the “164 Patent”), entitled “Systems for
10   implementing enhanced gaming and prizing parameters in an electronic environment,”
11   to Randall M. Katz and Gary Dawson. A copy of the 164 Patent is attached to the
12   Complaint as Exhibit B.
13          20.    Milestone is the owner of all right, title, and interest in and to the 164
14   Patent.
15          21.    The 164 Patent is directed to methods of dynamically altering computerized
16   game play by altering the game structure or prizing parameters based on analysis of
17   game play by the computer system, and to the use of virtual currency obtained either
18   through cash purchase or game play. Specifically, the claims recite games that feature
19   a set of “mandated parameters” – a set of game objectives, such as win probability or
20   rate, an amount of time played (engagement), overall prizing payout, or other metric the
21   game designer seeks to achieve. See, e.g., Ex. B (164 Patent), Claim 1. User game play
22   is tracked and analyzed, and on that basis, the game varies a set of game parameters
23   (recited as “variable parameters”), such as the structure of the game (e.g., its difficulty,
24   or game pieces provided) or its prizing, in order to achieve the mandated parameters. Id.
25   In addition, the game play includes “game play with virtual money (vCoins)”, which can
26   be acquired through cash purchase that is “subject to a multiplier” depending, for
27   example, on the amount of real money spent. Id.
28          22.    The elements claimed by the 164 Patent, taken alone or in combination,

                                                      6                            COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 8 of 70 Page ID #:8




 1   were not well-understood, routine or conventional to one of ordinary skill in the art at
 2   the time of the invention. Rather, the 164 Patent claims and teaches, inter alia, an
 3   unconventional way to use a computer to dynamically alter the structure of networked
 4   games, or their prizing, based on analysis of game play conditions, and to provide virtual
 5   cash that is subject to a multiplier. As the specification explains, this capability to
 6   analyze game play and programmatically alter the structure of the game solves a known
 7   problem in the field of computerized gaming – how to obtain a “higher level of audience
 8   interest and potential participation” while maintaining a set of game objectives, such as
 9   win probability, or overall prizing payout, that favors the house. 164 Patent, 14:56-58.
10   As the specification explains, this varying multiplier for virtual currency similarly
11   provides a particular solution to a specific problem in computerized gaming – that of
12   maintaining player interest, either given other entertainment possibilities or the difficulty
13   of the game: “Enhanced multipliers may be used to induce play at times when other
14   entertainment is available, e.g., sweeps weeks or prime time, as an inducement for the
15   player to play the subject games. The multiplier may change for different games, such
16   as where the multiplier increases where the real or perceived level of skill required is
17   greater.” 164 Patent, 46:24-29.
18         23.    The written description of the 164 Patent describes, in technical detail, each
19   of the limitations in the claims, allowing a person of skill in the art to understand what
20   those limitations cover, and therefore what was claimed, and also understand how the
21   non-conventional and non-generic ordered combination of the elements of the claims
22   differ markedly from what had been performed in the industry prior to the inventions of
23   the 164 Patent. As the 164 Patent specification explains, “[e]xemplary mandated
24   parameters may consist of prize pay out and win rates, and may include such factors as
25   the minimum payout amount, the maximum payout amount, a defined percentage
26   payout, the number of prizes, and/or the form of prizes. Within the system, the mandated
27   parameters are generally inputted to the system, and preferably stored in memory within
28   the system. Having received the mandated parameters, the system processor then selects

                                                  7                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 9 of 70 Page ID #:9




 1   among dependent variable parameters to implement game play and prizing in a way that
 2   achieve the mandated parameters. . . . Within these systems and methods, greater
 3   flexibility is achieved with regard to the play on a particular individual event, while
 4   achieving the mandated parameters for the game as a whole.” Id. at 5:30-6:23. “For a
 5   given game, there are numerous parameters, including the number of levels in a game,
 6   the decision points within the game and desired duration of the play experience. The
 7   play experience may be varied such as by awarding extended game play, providing free
 8   play awards, advancing a player one or more levels based upon game play and/or the
 9   provision of complex decisions. The game play experience may be varied by changing
10   the play probabilities. In one implementation, game play experience may utilize real
11   world probabilities for the game play portion of the experience, but utilize other
12   probabilities for the prizing portion of the overall game. By way of example, a simple
13   probability game such a coin toss should emulate a 50/50 outcome experience as far as
14   game play goes, but may be subject to a second prizing phase in which the mandated
15   parameters can be achieved. For example, a prize board may be utilized to reduce the
16   prizing payout to conform to the mandated parameters. Thus, the game play experience
17   can feel as if the real world probabilities are being achieved, but the lower prizing payout
18   be implemented as required by the mandated parameters. The player's win/lose
19   experience may also be varied. For example, if the player must lose an individual game,
20   the system may elect to give the user a loss, but one in which they appear to have come
21   ‘close’ to winning a prize.” Id. at 16:60-17:17.
22         24.    As the 164 Patent specification further explains, a “vCoin will typically be
23   a multiplier times the corresponding numeric monetary value, e.g. one dollar equals 500
24   vCoins. The multiplier is typically an integer number, and is usually an amount of 100,
25   500 or 1000, though any amount may be used. The multiplier may be fixed over time
26   and over games, or it may vary based on factors, such as time, game or player status. For
27   example, play during certain times may result in ‘double vCoins’. Enhanced multipliers
28   may be used to induce play at times when other entertainment is available, e.g., sweeps

                                                  8                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 10 of 70 Page ID #:10




 1    weeks or prime time, as an inducement for the player to play the subject games. The
 2    multiplier may change for different games, such as where the multiplier increases where
 3    the real or perceived level of skill required is greater. . . .The vCoins may be traded for
 4    cash or other forms of games, prizes or non-cash goods or services. They may be traded
 5    into other forms either continuously (e.g., 956 vCoins may be redeemed for $9.56) or
 6    may be redeemed in quantized or discrete amounts, e.g., vCoins may only be redeemed
 7    in groups of 1,000, corresponding to $10. . . .vCoins provide the player with the
 8    perception of a big win since the numbers are larger than any corresponding monetary
 9    amount. Additionally, by being virtual and corresponding to electronic amounts, they
10    may be altered or varied as desired. By being able to track specific coins, the vCoins
11    technique leads to vastly expanded possibilities such as these.” Id. at 46:16-47:3.
12          25.    The claims of the 164 Patent thereby describe a technological solution to
13    the problems of how to generate “higher level of audience interest and potential
14    participation” while maintaining a set of game objectives, such as win probability, or
15    overall prizing payout, that favors the house. For example, Claim 1 of the 164 Patent
16    recites “mandated and variable parameters for use in the course of game play, wherein
17    the mandated parameters represent parameters which must be achieved by the system as
18    a whole, and the variable parameters represent parameters characterizing at least one of:
19    a game structure and a prizing structure,” “a decision engine for performing game
20    analytics on the game play,” “implementing a first set of variable parameters to provide
21    a first game play experience, and modifying the variable parameters to provide a second
22    set of variable parameters providing a second game play experience, where the first
23    game play experience differs from the second game play experience,” “game play with
24    virtual money (vCoins), the virtual money (vCoins) being acquired in response to a
25    purchase utilizing the payment information of the users,” and “the virtual money
26    (vCoins) acquired in response to a purchase being subject to a multiplier.” Id. at Claim
27    1. None of these elements, taken alone or in combination, were well-understood, routine,
28    or conventional to one of ordinary skill in the art at the time of the invention.

                                                   9                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 11 of 70 Page ID #:11




 1          26.    The systems covered by the asserted claims, therefore, differ markedly
 2    from the prior systems in use at the time of this invention, which, inter alia, lacked these
 3    features. By enabling dynamic modifications to the gameplay experience based on
 4    analysis of game play, and the use of variable virtual currencies, the claims are directed
 5    to a specific, unconventional improvement to the way gaming computers operate.
 6          27.    Dependent claims of the 164 Patent are further directed to specific,
 7    unconventional improvements to the way gaming computers operate. For example,
 8    Claims 2, 3, and 4 are directed to user registration and player tracking. Claims 5-15 are
 9    directed to modifying game play parameters on the basis of “a threshold value to change
10    from the first game play experience to the second game play experience” including
11    specific game play experiences, including frequency of play, amount of money spent,
12    the number of game plays since a last win. Claims 17, 26, and 27 are directed to limiting
13    game play, including to specific geographic regions and based on time. None of these
14    elements, taken alone or in combination, were well-understood, routine, or conventional
15    to one of ordinary skill in the art at the time of the invention.
16          28.    On July 19, 2022, the United States Patent and Trademark Office duly and
17    legally issued U.S. Patent No. 11,393,279 (the “279 Patent”), entitled “System for
18    implementing enhanced gaming and prizing parameters in an electronic environment,”
19    to Randall M. Katz and Gary Dawson. A copy of the 279 Patent is attached to the
20    Complaint as Exhibit C.
21          29.    Milestone is the owner of all right, title, and interest in and to the 279
22    Patent.
23          30.    The 279 Patent is directed to methods of dynamically altering computerized
24    game play by altering the game structure or prizing parameters based on analysis of
25    game play by the computer system. Specifically, the claims recite games that feature a
26    set of “mandated parameters” – a set of game objectives, such as win probability or rate,
27    an amount of time played (engagement), overall prizing payout, or other metric the game
28    designer seeks to achieve. See, e.g., Ex. C (279 Patent), Claim 1. User game play is

                                                   10                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 12 of 70 Page ID #:12




 1    tracked and analyzed, and on that basis, the game varies a set of game parameters (recited
 2    as “variable parameters”), such as the structure of the game (e.g., its difficulty, or game
 3    pieces provided) or its prizing, in order to achieve the mandated parameters. Id.
 4          31.    The elements claimed by the 279 Patent, taken alone or in combination,
 5    were not well-understood, routine or conventional to one of ordinary skill in the art at
 6    the time of the invention. Rather, the 279 Patent claims and teaches, inter alia, an
 7    unconventional way to use a computer to dynamically alter the structure of networked
 8    games, or their prizing, based on analysis of game play conditions. As the specification
 9    explains, this capability to analyze game play and programmatically alter the structure
10    of the game solves a known problem in the field of computerized gaming – how to obtain
11    a “higher level of audience interest and potential participation” while maintaining a set
12    of game objectives, such as win probability, or overall prizing payout, that favors the
13    house. 279 Patent, 14:16-18.
14          32.    The written description of the 279 Patent describes, in technical detail, each
15    of the limitations in the claims, allowing a person of skill in the art to understand what
16    those limitations cover, and therefore what was claimed, and also understand how the
17    non-conventional and non-generic ordered combination of the elements of the claims
18    differ markedly from what had been performed in the industry prior to the inventions of
19    the 279 Patent. As the 279 Patent specification explains, “[e]xemplary mandated
20    parameters may consist of prize pay out and win rates, and may include such factors as
21    the minimum payout amount, the maximum payout amount, a defined percentage
22    payout, the number of prizes, and/or the form of prizes. Within the system, the mandated
23    parameters are generally input to the system, and preferably stored in memory within
24    the system. Having received the mandated parameters, the system processor then selects
25    among dependent variable parameters to implement game play and prizing in a way that
26    achieve the mandated parameters. . . . Within these systems and methods, greater
27    flexibility is achieved with regard to the play on a particular individual event, while
28    achieving the mandated parameters for the game as a whole.” Id. at 5:11-6:4. “For a

                                                  11                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 13 of 70 Page ID #:13




 1    given game, there are numerous parameters, including the number of levels in a game,
 2    the decision points within the game and desired duration of the play experience. The
 3    play experience may be varied such as by awarding extended game play, providing free
 4    play awards, advancing a player one or more levels based upon game play and/or the
 5    provision of complex decisions. The game play experience may be varied by changing
 6    the play probabilities. In one implementation, game play experience may utilize real
 7    world probabilities for the game play portion of the experience, but utilize other
 8    probabilities for the prizing portion of the overall game. By way of example, a simple
 9    probability game such a coin toss should emulate a 50/50 outcome experience as far as
10    game play goes, but may be subject to a second prizing phase in which the mandated
11    parameters can be achieved. For example, a prize board may be utilized to reduce the
12    prizing payout to conform to the mandated parameters. Thus, the game play experience
13    can feel as if the real world probabilities are being achieved, but the lower prizing payout
14    be implemented as required by the mandated parameters. The player's win/lose
15    experience may also be varied. For example, if the player must lose a individual game,
16    the system may elect to give the user a loss, but one in which they appear to have come
17    ‘close’ to winning a prize.” Id. at 16:22-46.
18          33.    The claims of the 279 Patent thereby describe a technological solution to
19    the problems of how to generate “higher level of audience interest and potential
20    participation” while maintaining a set of game objectives, such as win probability, or
21    overall prizing payout, that favors the house. For example, Claim 1 of the 279 Patent
22    recites memory to “store mandated and programmable variable parameters for use in the
23    course of game play, wherein, the mandated parameters represent parameters which
24    must be achieved by the system as a whole, and the programmable variable parameters
25    represent parameters characterizing at least one of: a game structure and a prizing
26    structure,” and a “play engine” to “determine the selection of the first or second
27    programmable variable parameter sets utilizing the recorded game play information with
28    predefined criteria including at least one of: a game structure and a prizing structure.”

                                                  12                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 14 of 70 Page ID #:14




 1    Id. at Claim 1. None of these elements, taken alone or in combination, were well-
 2    understood, routine, or conventional to one of ordinary skill in the art at the time of the
 3    invention.
 4          34.    The systems and methods covered by the asserted claims, therefore, differ
 5    markedly from the prior systems in use at the time of this invention, which, inter alia,
 6    lacked these features. By enabling dynamic modifications to the gameplay experience
 7    based on analysis of game play, the claims are directed to a specific, unconventional
 8    improvement to the way gaming computers operate.
 9          35.    Dependent claims of the 279 Patent are further directed to specific,
10    unconventional improvements to the way gaming computers operate. For example,
11    Claims 5-9 are directed to modifying game play parameters on the basis of various
12    criteria, including wins, losses or other game outcomes. Claims 11, 20 and 21 are
13    directed to limiting game play, including to specific geographic regions and based on
14    time. Claims 25-30 define specific predefined criteria used as the basis to modify game
15    play, including the amount of time played, the number of plays, and the number of wins.
16    None of these elements, taken alone or in combination, were well-understood, routine,
17    or conventional to one of ordinary skill in the art at the time of the invention.
18          36.    On May 12, 2020, the United States Patent and Trademark Office duly and
19    legally issued U.S. Patent No. 10,650,635 (the “635 Patent”), entitled “Systems for
20    implementing enhanced gaming and prizing parameters in an electronic environment,”
21    to Randall M. Katz and Gary Dawson. A copy of the 635 Patent is attached to the
22    Complaint as Exhibit D.
23          37.    Milestone is the owner of all right, title, and interest in and to the 635
24    Patent.
25          38.    The 635 Patent is directed to systems for computerized gaming making use
26    of virtual currency obtained either through cash purchase or game play. Specifically,
27    the claims recite the game play includes “game play with virtual money”, which can be
28    acquired through cash purchase that is “subject to a multiplier” depending, for example,

                                                  13                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 15 of 70 Page ID #:15




 1    on the amount of real money spent, or through game play. Id.
 2          39.    The elements claimed by the 635 Patent, taken alone or in combination,
 3    were not well-understood, routine or conventional to one of ordinary skill in the art at
 4    the time of the invention. Rather, the 635 Patent claims and teaches, inter alia, an
 5    unconventional way to use a computer to provide virtual cash that is subject to a
 6    multiplier and can be used or acquired through game events. As the specification
 7    explains, this varying multiplier for virtual currency similarly provides a particular
 8    solution to a specific problem in computerized gaming – that of maintaining player
 9    interest, either given other entertainment possibilities or the difficulty of the game:
10    “Enhanced multipliers may be used to induce play at times when other entertainment is
11    available, e.g., sweeps weeks or prime time, as an inducement for the player to play the
12    subject games. The multiplier may change for different games, such as where the
13    multiplier increases where the real or perceived level of skill required is greater.” 635
14    Patent, 46:1-6.
15          40.    The written description of the 635 Patent describes, in technical detail, each
16    of the limitations in the claims, allowing a person of skill in the art to understand what
17    those limitations cover, and therefore what was claimed, and also understand how the
18    non-conventional and non-generic ordered combination of the elements of the claims
19    differ markedly from what had been performed in the industry prior to the inventions of
20    the 635 Patent. As the 635 Patent specification explains, a “vCoin will typically be a
21    multiplier times the corresponding numeric monetary value, e.g. one dollar equals 500
22    vCoins. The multiplier is typically an integer number, and is usually an amount of 100,
23    500 or 1000, though any amount may be used. The multiplier may be fixed over time
24    and over games, or it may vary based on factors, such as time, game or player status. For
25    example, play during certain times may result in ‘double vCoins’. Enhanced multipliers
26    may be used to induce play at times when other entertainment is available, e.g., sweeps
27    weeks or prime time, as an inducement for the player to play the subject games. The
28    multiplier may change for different games, such as where the multiplier increases where

                                                 14                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 16 of 70 Page ID #:16




 1    the real or perceived level of skill required is greater. . . .The vCoins may be traded for
 2    cash or other forms of games, prizes or non-cash goods or services. They may be traded
 3    into other forms either continuously (e.g., 956 vCoins may be redeemed for $9.56) or
 4    may be redeemed in quantized or discrete amounts, e.g., vCoins may only be redeemed
 5    in groups of 1,000, corresponding to $10. . . .vCoins provide the player with the
 6    perception of a big win since the numbers are larger than any corresponding monetary
 7    amount. Additionally, by being virtual and corresponding to electronic amounts, they
 8    may be altered or varied as desired. By being able to track specific coins, the vCoins
 9    technique leads to vastly expanded possibilities such as these.” Id. at 45:60-46:47.
10          41.    The claims of the 635 Patent thereby describe a technological solution to
11    the problems of how to generate “higher level of audience interest and potential
12    participation” while maintaining a set of game objectives, such as win probability, or
13    overall prizing payout, that favors the house. For example, Claim 1 of the 635 Patent
14    recites “game play with virtual money, the virtual money being acquired through: (1)
15    game play and (2) cash purchase, the virtual money acquired by cash purchase being
16    subject to a multiplier,” and “conversion of the virtual money into a non-cash good
17    comprising an image to permit advancement to another level within the game.” Id. at
18    Claim 1. None of these elements, taken alone or in combination, were well-understood,
19    routine, or conventional to one of ordinary skill in the art at the time of the invention.
20          42.    The systems covered by the asserted claims, therefore, differ markedly
21    from the prior systems in use at the time of this invention, which, inter alia, lacked these
22    features. By enabling the use of variable virtual currencies, the claims are directed to a
23    specific, unconventional improvement to the way gaming computers operate.
24          43.    Dependent claims of the 635 Patent are further directed to specific,
25    unconventional improvements to the way gaming computers operate. For example,
26    Claims 10, 14, 16, and 29 are directed to user registration, player tracking and leader
27    boards. Claims 3, 4, 5, 6, 7, and 8 describe how virtual coins may be acquired and used,
28    including through non-cash purchases, inducements, promotions, and advancement to

                                                  15                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 17 of 70 Page ID #:17




 1    other levels of the game. None of these elements, taken alone or in combination, were
 2    well-understood, routine, or conventional to one of ordinary skill in the art at the time
 3    of the invention.
 4          44.    On November 15, 2022, the United States Patent and Trademark Office
 5    duly and legally issued U.S. Patent No. 11,501,607 (the “607 Patent”), entitled “Systems
 6    for implementing enhanced gaming and prizing parameters in an electronic
 7    environment,” to Randall M. Katz and Gary Dawson. A copy of the 607 Patent is
 8    attached to the Complaint as Exhibit E.
 9          45.    Milestone is the owner of all right, title, and interest in and to the 607
10    Patent.
11          46.    The 607 Patent is directed to methods of dynamically altering computerized
12    game play by altering the game structure or prizing parameters based on analysis of
13    game play by the computer system, and to the use of virtual currency obtained either
14    through cash purchase or game play. Specifically, the claims recite games that feature
15    a set of “mandated parameters” – a set of game objectives, such as win probability or
16    rate, an amount of time played (engagement), overall prizing payout, or other metric the
17    game designer seeks to achieve. See, e.g., Ex. E (607 Patent), Claim 1. User game play
18    is tracked and analyzed, and on that basis, the game varies a set of game parameters
19    (recited as “variable parameters”), such as the structure of the game (e.g., its difficulty,
20    or game pieces provided) or its prizing, in order to achieve the mandated parameters. Id.
21    In addition, the game play includes “game play with virtual money (vCoins)”, which can
22    be acquired through cash purchase that is “subject to a multiplier” depending, for
23    example, on the amount of real money spent. Id.
24          47.    The elements claimed by the 607 Patent, taken alone or in combination,
25    were not well-understood, routine or conventional to one of ordinary skill in the art at
26    the time of the invention. Rather, the 607 Patent claims and teaches, inter alia, an
27    unconventional way to use a computer to dynamically alter the structure of networked
28    games, or their prizing, based on analysis of game play conditions, and to provide virtual

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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 18 of 70 Page ID #:18




 1    cash that is subject to a multiplier. As the specification explains, this capability to
 2    analyze game play and programmatically alter the structure of the game solves a known
 3    problem in the field of computerized gaming – how to obtain a “higher level of audience
 4    interest and potential participation” while maintaining a set of game objectives, such as
 5    win probability, or overall prizing payout, that favors the house. 607 Patent, 14:51-58.
 6    As the specification explains, this varying multiplier for virtual currency similarly
 7    provides a particular solution to a specific problem in computerized gaming – that of
 8    maintaining player interest, either given other entertainment possibilities or the difficulty
 9    of the game: “Enhanced multipliers may be used to induce play at times when other
10    entertainment is available, e.g., sweeps weeks or prime time, as an inducement for the
11    player to play the subject games. The multiplier may change for different games, such
12    as where the multiplier increases where the real or perceived level of skill required is
13    greater.” 607 Patent, 46:21-26.
14          48.    The written description of the 607 Patent describes, in technical detail, each
15    of the limitations in the claims, allowing a person of skill in the art to understand what
16    those limitations cover, and therefore what was claimed, and also understand how the
17    non-conventional and non-generic ordered combination of the elements of the claims
18    differ markedly from what had been performed in the industry prior to the inventions of
19    the 607 Patent. As the 607 Patent specification explains, “[e]xemplary mandated
20    parameters may consist of prize pay out and win rates, and may include such factors as
21    the minimum payout amount, the maximum payout amount, a defined percentage
22    payout, the number of prizes, and/or the form of prizes. Within the system, the mandated
23    parameters are generally inputted to the system, and preferably stored in memory within
24    the system. Having received the mandated parameters, the system processor then selects
25    among dependent variable parameters to implement game play and prizing in a way that
26    achieve the mandated parameters. . . . Within these systems and methods, greater
27    flexibility is achieved with regard to the play on a particular individual event, while
28    achieving the mandated parameters for the game as a whole.” Id. at 5:30-6:23. “For a

                                                   17                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 19 of 70 Page ID #:19




 1    given game, there are numerous parameters, including the number of levels in a game,
 2    the decision points within the game and desired duration of the play experience. The
 3    play experience may be varied such as by awarding extended game play, providing free
 4    play awards, advancing a player one or more levels based upon game play and/or the
 5    provision of complex decisions. The game play experience may be varied by changing
 6    the play probabilities. In one implementation, game play experience may utilize real
 7    world probabilities for the game play portion of the experience, but utilize other
 8    probabilities for the prizing portion of the overall game. By way of example, a simple
 9    probability game such a coin toss should emulate a 50/50 outcome experience as far as
10    game play goes, but may be subject to a second prizing phase in which the mandated
11    parameters can be achieved. For example, a prize board may be utilized to reduce the
12    prizing payout to conform to the mandated parameters. Thus, the game play experience
13    can feel as if the real world probabilities are being achieved, but the lower prizing payout
14    be implemented as required by the mandated parameters. The player's win/lose
15    experience may also be varied. For example, if the player must lose an individual game,
16    the system may elect to give the user a loss, but one in which they appear to have come
17    ‘close’ to winning a prize.” Id. at 16:60-17:17.
18          49.    As the 607 Patent specification further explains, a “vCoin will typically be
19    a multiplier times the corresponding numeric monetary value, e.g. one dollar equals 500
20    vCoins. The multiplier is typically an integer number, and is usually an amount of 100,
21    500 or 1000, though any amount may be used. The multiplier may be fixed over time
22    and over games, or it may vary based on factors, such as time, game or player status. For
23    example, play during certain times may result in ‘double vCoins’. Enhanced multipliers
24    may be used to induce play at times when other entertainment is available, e.g., sweeps
25    weeks or prime time, as an inducement for the player to play the subject games. The
26    multiplier may change for different games, such as where the multiplier increases where
27    the real or perceived level of skill required is greater. . . .The vCoins may be traded for
28    cash or other forms of games, prizes or non-cash goods or services. They may be traded

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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 20 of 70 Page ID #:20




 1    into other forms either continuously (e.g., 956 vCoins may be redeemed for $9.56) or
 2    may be redeemed in quantized or discrete amounts, e.g., vCoins may only be redeemed
 3    in groups of 1,000, corresponding to $10. . . .vCoins provide the player with the
 4    perception of a big win since the numbers are larger than any corresponding monetary
 5    amount. Additionally, by being virtual and corresponding to electronic amounts, they
 6    may be altered or varied as desired. By being able to track specific coins, the vCoins
 7    technique leads to vastly expanded possibilities such as these.” Id. at 46:13-67.
 8          50.    The claims of the 607 Patent thereby describe a technological solution to
 9    the problems of how to generate “higher level of audience interest and potential
10    participation” while maintaining a set of game objectives, such as win probability, or
11    overall prizing payout, that favors the house. For example, Claim 1 of the 607 Patent
12    recites “mandated and variable parameters for use in the course of game play, wherein
13    the mandated parameters represent parameters which must be achieved by the system as
14    a whole, and the variable parameters represent parameters characterizing at least one of:
15    a game structure and a prizing structure,” “a decision engine for performing game
16    analytics on the game play and determine the selection of the first or second
17    programmable variable parameters utilizing the recorded game play information with
18    predefined criteria,” “implementing a first variable parameters to provide a first game
19    play experience, and modifying the variable parameters to provide second variable
20    parameters providing a second game play experience, where the first game play
21    experience differs from the second game play experience,” “game play with virtual
22    money (vCoins), the virtual money (vCoins) being acquired in response to a purchase
23    utilizing the payment information of the users,” and “the virtual money (vCoins)
24    acquired in response to a purchase being subject to a multiplier.” Id. at Claim 1. None
25    of these elements, taken alone or in combination, were well-understood, routine, or
26    conventional to one of ordinary skill in the art at the time of the invention.
27          51.    The systems covered by the asserted claims, therefore, differ markedly
28    from the prior systems in use at the time of this invention, which, inter alia, lacked these

                                                  19                                   COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 21 of 70 Page ID #:21




 1    features. By enabling dynamic modifications to the gameplay experience based on
 2    analysis of game play, and the use of variable virtual currencies, the claims are directed
 3    to a specific, unconventional improvement to the way gaming computers operate.
 4          52.    Dependent claims of the 607 Patent are further directed to specific,
 5    unconventional improvements to the way gaming computers operate. For example,
 6    Claims 16 and 17 are directed to limiting game play, including based on time. None of
 7    these elements, taken alone or in combination, were well-understood, routine, or
 8    conventional to one of ordinary skill in the art at the time of the invention.
 9          53.    On November 3, 2020, the United States Patent and Trademark Office duly
10    and legally issued U.S. Patent No. 10,825,294 (the “294 Patent”), entitled “Systems for
11    implementing enhanced gaming and prizing parameters in an electronic environment,”
12    to Randall M. Katz and Gary Dawson. A copy of the 294 Patent is attached to the
13    Complaint as Exhibit F.
14          54.    Milestone is the owner of all right, title, and interest in and to the 294
15    Patent.
16          55.    The 294 Patent is directed to systems for computerized gaming making use
17    of virtual currency obtained either through cash purchase or game play. Specifically,
18    the claims recite the game play includes “game play with virtual money”, which can be
19    acquired through cash purchase that is “subject to a multiplier” depending, for example,
20    on the amount of real money spent, or through game play. Id.
21          56.    The elements claimed by the 294 Patent, taken alone or in combination,
22    were not well-understood, routine or conventional to one of ordinary skill in the art at
23    the time of the invention. Rather, the 294 Patent claims and teaches, inter alia, an
24    unconventional way to use a computer to provide virtual cash that is subject to a
25    multiplier and can be used or acquired through game events. As the specification
26    explains, this varying multiplier for virtual currency similarly provides a particular
27    solution to a specific problem in computerized gaming – that of maintaining player
28    interest, either given other entertainment possibilities or the difficulty of the game:

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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 22 of 70 Page ID #:22




 1    “Enhanced multipliers may be used to induce play at times when other entertainment is
 2    available, e.g., sweeps weeks or prime time, as an inducement for the player to play the
 3    subject games. The multiplier may change for different games, such as where the
 4    multiplier increases where the real or perceived level of skill required is greater.” 294
 5    Patent, 46:4-9.
 6          57.    The written description of the 294 Patent describes, in technical detail, each
 7    of the limitations in the claims, allowing a person of skill in the art to understand what
 8    those limitations cover, and therefore what was claimed, and also understand how the
 9    non-conventional and non-generic ordered combination of the elements of the claims
10    differ markedly from what had been performed in the industry prior to the inventions of
11    the 294 Patent. As the 294 Patent specification explains, a “vCoin will typically be a
12    multiplier times the corresponding numeric monetary value, e.g. one dollar equals 500
13    vCoins. The multiplier is typically an integer number, and is usually an amount of 100,
14    500 or 1000, though any amount may be used. The multiplier may be fixed over time
15    and over games, or it may vary based on factors, such as time, game or player status. For
16    example, play during certain times may result in ‘double vCoins’. Enhanced multipliers
17    may be used to induce play at times when other entertainment is available, e.g., sweeps
18    weeks or prime time, as an inducement for the player to play the subject games. The
19    multiplier may change for different games, such as where the multiplier increases where
20    the real or perceived level of skill required is greater. . . .The vCoins may be traded for
21    cash or other forms of games, prizes or non-cash goods or services. They may be traded
22    into other forms either continuously (e.g., 956 vCoins may be redeemed for $9.56) or
23    may be redeemed in quantized or discrete amounts, e.g., vCoins may only be redeemed
24    in groups of 1,000, corresponding to $10. . . .vCoins provide the player with the
25    perception of a big win since the numbers are larger than any corresponding monetary
26    amount. Additionally, by being virtual and corresponding to electronic amounts, they
27    may be altered or varied as desired. By being able to track specific coins, the vCoins
28    technique leads to vastly expanded possibilities such as these.” Id. at 45:63-46:50.

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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 23 of 70 Page ID #:23




 1          58.    The claims of the 294 Patent thereby describe a technological solution to
 2    the problems of how to generate “higher level of audience interest and potential
 3    participation” while maintaining a set of game objectives, such as win probability, or
 4    overall prizing payout, that favors the house. For example, Claim 1 of the 294 Patent
 5    recites “game play with virtual money, (b) the virtual money being acquired through:
 6    (1) game play and (2) purchase,” “(c) the virtual money acquired by cash purchase being
 7    subject to a multiplier,” and “(d) conversion of the virtual money into a non-cash good
 8    comprising an image, the image to permit advancement to another level within the
 9    game.” Id. at Claim 1. None of these elements, taken alone or in combination, were
10    well-understood, routine, or conventional to one of ordinary skill in the art at the time
11    of the invention.
12          59.    The systems covered by the asserted claims, therefore, differ markedly
13    from the prior systems in use at the time of this invention, which, inter alia, lacked these
14    features. By enabling the use of variable virtual currencies, the claims are directed to a
15    specific, unconventional improvement to the way gaming computers operate.
16          60.    Dependent claims of the 294 Patent are further directed to specific,
17    unconventional improvements to the way gaming computers operate. For example,
18    Claims 3, 4, 5, 6, describe how virtual coins may be acquired and used, including through
19    non-cash purchases, inducements. None of these elements, taken alone or in
20    combination, were well-understood, routine, or conventional to one of ordinary skill in
21    the art at the time of the invention.
22          61.    The 336 Patent, 164 Patent, 279 Patent, 635 Patent, 607 Patent, and 294
23    Patent (collectively the “Asserted Patents”) are valid and enforceable.
24    V.    THE INFRINGING PRODUCTS
25          62.    Defendant’s computer games for use on iOS and Android mobile devices,
26    and personal computers (including on web browsers and Facebook) including but not
27    limited to: Candy Crush Saga, and Call of Duty: Mobile, practice claimed inventions of
28    the Asserted Patents (hereinafter, the “Accused Products”). In connection with the

                                                  22                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 24 of 70 Page ID #:24




 1    Accused Products, Defendant performs in the United States without authority every step
 2    of the patented inventions; and makes, uses, sells, and/or offers to sell in the United
 3    States without authority software that, when installed on a computing device meets each
 4    and every limitation of the asserted claims.
 5          63.    For example, when installed on a mobile device, Call of Duty: Mobile uses
 6    the device processor to generate game play information, including game play with
 7    virtual money. Call of Duty: Mobile uses virtual money, including “COD Points” (a/k/a
 8    “CP”). The money is “virtual” because it has no real-world counterpart, and no
 9    consistently defined relationship to any real currency.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 25 of 70 Page ID #:25




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23          64.   In Call of Duty: Mobile, virtual money can be acquired through game play,
24    including by advancing through tiers based on repeated play with a battle pass.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 26 of 70 Page ID #:26




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23          65.   In Call of Duty: Mobile, the virtual money acquired by cash purchase is
24    subject to a multiplier, such that larger amounts of cash purchase produce
25    disproportionately larger amounts of virtual money in relation to lower cash amounts.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 27 of 70 Page ID #:27




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22             66.     As another example, on information and belief, Candy Crush Saga stores
23    mandated parameters for use in game play that represent threshold game play objectives
24    the game is desired to achieve, including parameters relating to the frequency and
25    amount of game play per player, and the frequency and amount of in-game purchases
26    per player. For example, Candy Crush Saga tracks the number of monthly average users
27    (MAUs, defined by Activision-Blizzard as the number of players accessing the game
28    within         the   last   30   days),   and    in-game     net   bookings.       See

                                                  26                             COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 28 of 70 Page ID #:28




 1    https://investor.activision.com/news-releases/news-release-details/activision-blizzard-
 2    announces-fourth-quarter-and-2021-financial.
 3          67.    Candy Crush Saga also tracks win rates for each level, and in-game
 4    purchases for each level.
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18          68.    On information and belief, Candy Crush tracks numerous aspects of game
19    play for use as mandated parameters, or thresholds the game seeks to achieve, such as
20    the frequency of play, the total amount of time played in a given period, the amount of
21    time since the last play, the win/loss rate, the number of plays on a given level since the
22    last win, the rate of progression through game levels, the number of in-game purchases,
23    and the frequency of in-game purchase.
24          69.    In addition, Candy Crush stores alterable variable parameters defining both
25    the game play and prizing structure. These parameters define, e.g., how the game is
26    played, the likelihood of a win, and the prizes awarded for a defined win. These
27    parameters are “variable” in that they may be programmatically and dynamically altered.
28    On information and belief, the variable parameters that define the game and prizing

                                                  27                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 29 of 70 Page ID #:29




 1    structure are altered when one or more threshold levels of the mandated parameters
 2    concerning engagement and in-game purchases are met or crossed.
 3          70.    For example, Candy Crush Saga alters the composition of the opening and
 4    in-play game board, and alters the likelihood of obtaining special items during game
 5    play, in order to increase the chances of completing a level in the game.
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19          71.    For example, Candy Crush alters the likelihood of obtaining more powerful
20    special items in mini-games, and varies the frequency of mini-games and bonuses, in
21    order to increase the chances of completing a level in the game.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 30 of 70 Page ID #:30




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15          72.   For example, Candy Crush initially offers players, upon a loss, the ability
16    to either purchase additional moves to complete the level, or watch an advertisement to
17    obtain additional moves. Following any in-game purchase, the advertising option is
18    removed, and the player’s only option is to pay to keep playing.
19                       Prior to first purchase Following first purchase
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 31 of 70 Page ID #:31




 1          73.     For example, Candy Crush alters the prizing structure by offering players
 2    discounted purchases of special items for “hard levels” based on previous player
 3    experience.
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18          74.     In the interest of providing detailed averments of infringement, Plaintiff has
19    identified below at least one claim per patent-in-suit to demonstrate infringement by at
20    least one product. However, the selection of claims and products below should not be
21    considered limiting, and infringement by Activision Blizzard by way of additional
22    claims of the Asserted Patents and additional products will be disclosed in compliance
23    with the Court’s rules related to infringement contentions and/or discovery. The
24    allegations provided herein are exemplary and without prejudice to Plaintiff’s
25    infringement contentions to be provided pursuant to the Court’s scheduling order, local
26    rules, and/or discovery procedures. Plaintiff’s claim construction contentions regarding
27    the meaning and scope of the claim terms will be provided under the Court’s scheduling
28    order, local rules, and/or discovery procedures. As detailed below, each element of at

                                                  30                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 32 of 70 Page ID #:32




 1    least one claim of each of the patents-in-suit is literally present in at least one accused
 2    product. To the extent that any element is not literally present, each such element is
 3    present under the doctrine of equivalents. Plaintiff’s analysis below should not be taken
 4    as an admission and/or contention that the preamble for any claim is or is not limiting.
 5    While publicly available information is cited below, Plaintiff may rely on other forms
 6    of evidence to show infringement.
 7    VI.   COUNT I (INFRINGEMENT OF U.S. PATENT NO. 8,529,336)
 8          75.    Plaintiff repeats and realleges the allegations in the preceding paragraphs
 9    as though fully set forth herein.
10          76.    Upon information and belief, Activision Blizzard has directly infringed at
11    least Claims 1, 3, 4, 5, 13, 18, 19, 20, 22, 24, 25, 26, 29, 42, 44, 45, 46, 47, and 50, of
12    the 336 Patent in violation of 35 U.S.C. § 271(a), either literally or under the doctrine of
13    equivalents, by performing in the United States without authority each and every step of
14    the claims by using devices that embody the patented invention, namely, the Accused
15    Products installed or operating on a computing device. For example, Activision Blizzard
16    directly infringes at least these claims of the 336 Patent when its software performs each
17    element of the claimed methods, such as when Activision Blizzard operates the Accused
18    Products for internal testing and development.
19          77.    For example, the Accused Products perform the method of Claim 1 because
20    they provide a method for electronic interaction with users of the system, i.e., game play
21    on a computing device. For example, Candy Crush Saga enables users to interact with
22    a multi-level game, as shown below.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 33 of 70 Page ID #:33




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14          78.    The Accused Products perform the step of receiving mandated parameters,
15    the mandated parameters being those which must be achieved by the system as a whole,
16    as recited in Claim 1. For example, on information and belief, Candy Crush Saga tracks
17    numerous aspects of game play for use as mandated parameters, or thresholds the game
18    seeks to achieve, such as the frequency of play, the total amount of time played in a
19    given period, the amount of time since the last play, the win/loss rate, the number of
20    plays on a given level since the last win, the rate of progression through game levels, the
21    number of in-game purchases, and the frequency of in-game purchase.
22          79.    On information and belief, the Accused Products perform the step of storing
23    in a memory coupled to the input at least the mandated parameters, as recited in Claim
24    1. For example, on information and belief, Candy Crush Saga utilizes the memory of
25    the device it is installed on to store the mandated parameters described above, and/or
26    stores them in a server environment operated by Defendant.
27          80.    On information and belief, the Accused Products perform the step of
28    processing in a processing system coupled to the memory for implementing the

                                                  32                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 34 of 70 Page ID #:34




 1    mandated parameters by utilizing variable parameters, the processing system utilizing
 2    the variable parameters to achieve the mandated parameters, as recited in Claim 1. For
 3    example, on information and belief, Candy Crush Saga stores alterable variable
 4    parameters defining both the game play and prizing structure. These parameters define,
 5    e.g., how the game is played, the likelihood of a win, and the prizes awarded for a defined
 6    win. These parameters are “variable” in that they may be programmatically and
 7    dynamically altered. On information and belief, the variable parameters that define the
 8    game and prizing structure are altered when one or more threshold levels of the
 9    mandated parameters concerning engagement and in-game purchases are met or crossed.
10          81.    For example, Candy Crush Saga alters the composition of the opening and
11    in-play game board, and alters the likelihood of obtaining special items during game
12    play, in order to increase the chances of completing a level in the game.
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25          82.    For example, Candy Crush alters the likelihood of obtaining more powerful
26    special items in mini-games, and varies the frequency of mini-games and bonuses, in
27    order to increase the chances of completing a level in the game.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 35 of 70 Page ID #:35




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14          83.   For example, Candy Crush initially offers players, upon a loss, the ability
15    to either purchase additional moves to complete the level or watch an advertisement to
16    obtain additional moves. Following any in-game purchase, the advertising option is
17    removed, and the player’s only option is to pay to keep playing.
18                       Prior to first purchase Following first purchase
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 36 of 70 Page ID #:36




 1          84.     For example, Candy Crush alters the prizing structure by offering players
 2    discounted purchases of special items for “hard levels” based on previous player
 3    experience.
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18          85.     On information and belief, the Accused Products perform the step of storing
19    information regarding particular game play events as determined by the processor, as
20    recited in Claim 1. For example, Candy Crush Saga tracks the number of monthly
21    average users (MAUs, defined by Activision-Blizzard as the number of players
22    accessing the game within the last 30 days), and in-game net bookings.               See
23    https://investor.activision.com/news-releases/news-release-details/activision-blizzard-
24    announces-fourth-quarter-and-2021-financial.
25          86.     Candy Crush Saga also tracks win rates for each level, and in-game
26    purchases for each level.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 37 of 70 Page ID #:37




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14          87.    On information and belief, the Accused Products perform the step of
15    generating presentations for at least displaying game play events, as recited in Claim 1.
16    For example, Candy Crush Saga displays game play events during game play.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 38 of 70 Page ID #:38




 1          88.    The Accused Products perform the step of performing game analytics on
 2    the game play events, as recited in Claim 1. For example, as described above, Candy
 3    Crush Saga tracks win rates for each level, and in-game purchases for each level.
 4          89.    The Accused Products perform the step of varying the displays presented
 5    to the user to achieve the mandated parameters, as recited in Claim 1. For example, on
 6    information and belief, the variable parameters that define the game and prizing structure
 7    of Candy Crush Saga are altered when one or more threshold levels of the mandated
 8    parameters concerning engagement and in-game purchases are met or crossed.
 9          90.    For example, Candy Crush Saga alters the composition of the opening and
10    in-play game board, and alters the likelihood of obtaining special items during game
11    play, in order to increase the chances of completing a level in the game.
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27          91.    For example, Candy Crush alters the likelihood of obtaining more powerful
28    special items in mini-games, and varies the frequency of mini-games and bonuses, in

                                                 37                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 39 of 70 Page ID #:39




 1    order to increase the chances of completing a level in the game.
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15          92.   For example, Candy Crush initially offers players, upon a loss, the ability
16    to either purchase additional moves to complete the level, or watch an advertisement to
17    obtain additional moves. Following any in-game purchase, the advertising option is
18    removed, and the player’s only option is to pay to keep playing.
19                       Prior to first purchase Following first purchase
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 40 of 70 Page ID #:40




 1          93.     For example, Candy Crush alters the prizing structure by offering players
 2    discounted purchases of special items for “hard levels” based on previous player
 3    experience.
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17          94.     Accordingly, the Accused Products perform each and every step of
18    exemplary Claim 1 of the 336 Patent.
19          95.     Activision Blizzard’s acts of infringement cause damage to Plaintiff, and
20    Plaintiff is entitled to recover from Activision Blizzard damages sustained as a result of
21    Activision Blizzard’s infringement of the Asserted Patents, but in no event less than a
22    reasonable royalty.
23          96.     Activision Blizzard’s acts of infringement, unless restrained and enjoined,
24    will cause irreparable injury and damage to Plaintiff for which there is no adequate
25    remedy at law.
26          97.     Activision Blizzard’s infringement of the Asserted Patents is exceptional
27    and entitles Plaintiff to attorneys’ fees and costs incurred in prosecuting this action under
28    35 U.S.C. § 285.

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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 41 of 70 Page ID #:41




 1    VII. COUNT II (INFRINGEMENT OF U.S. PATENT NO. 11,335,164)
 2          98.    Plaintiff repeats and realleges the allegations in the preceding paragraphs
 3    as though fully set forth herein.
 4          99.    Upon information and belief, Activision Blizzard has directly infringed at
 5    least Claims 1, 2, 4, 5, 6, 7, 9, 11, 12, 13, 15, 19, 23, 24, and 29 of the 164 Patent in
 6    violation of 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, by
 7    making, using, selling, and/or offering to sell in the United States without authority
 8    products which meet each limitation of the asserted claims, namely, the Accused
 9    Products installed or operating on a computing device, including operating servers to
10    support the infringing game play. For example, Activision Blizzard directly infringes at
11    least these claims of the 164 Patent when its software is installed on a computing
12    platform, such as when Activision Blizzard operates the Accused Products for internal
13    testing and development.
14          100. For example, the Accused Products meet the system of Claim 1 of the 164
15    Patent because, when installed or operating on a computing device, they provide a
16    system for electronic game play involving one or more remote users of a system in an
17    electronic environment, the remote users utilizing electronic communication devices
18    having display capabilities, the electronic communication devices having input
19    capability and generate an output corresponding to the input, the electronic
20    communication devices having storage to store information from a remote source For
21    example, Candy Crush Saga when installed on a computing device enables electronic
22    game play for remote users, including display, input, and output, as shown below.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 42 of 70 Page ID #:42




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13          101. The Accused Products meet the limitation of a server including memory to
14    process and store: registration user information of the remote users, payment information
15    of the remote users, as recited in Claim 1. For example, as described above, on
16    information and belief, Candy Crush Saga utilizes servers that store player registration
17    and payment information, as demonstrated by the requirement of Internet connectivity
18    for user purchases and player information across platforms:
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 43 of 70 Page ID #:43




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13          102. The Accused Products meet the limitation of a server including memory to
14    store mandated and variable parameters for use in the course of game play, wherein the
15    mandated parameters represent parameters which must be achieved by the system as a
16    whole, and the variable parameters represent parameters characterizing at least one of:
17    a game structure and a prizing structure, as recited in Claim 1.
18          103. For example, on information and belief, Candy Crush Saga tracks
19    numerous aspects of game play for use as mandated parameters, or thresholds the game
20    seeks to achieve, such as the frequency of play, the total amount of time played in a
21    given period, the amount of time since the last play, the win/loss rate, the number of
22    plays on a given level since the last win, the rate of progression through game levels, the
23    number of in-game purchases, and the frequency of in-game purchase.
24          104. For example, on information and belief, Candy Crush Saga stores alterable
25    variable parameters defining both the game play and prizing structure. These parameters
26    define, e.g., how the game is played, the likelihood of a win, and the prizes awarded for
27    a defined win. These parameters are “variable” in that they may be programmatically
28    and dynamically altered. On information and belief, the variable parameters that define

                                                  42                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 44 of 70 Page ID #:44




 1    the game and prizing structure are altered when one or more threshold levels of the
 2    mandated parameters concerning engagement and in-game purchases are met or crossed.
 3          105. For example, Candy Crush Saga alters the composition of the opening and
 4    in-play game board, and alters the likelihood of obtaining special items during game
 5    play, in order to increase the chances of completing a level in the game.
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19          106. For example, Candy Crush alters the likelihood of obtaining more powerful
20    special items in mini-games, and varies the frequency of mini-games and bonuses, in
21    order to increase the chances of completing a level in the game.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 45 of 70 Page ID #:45




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15          107. For example, Candy Crush initially offers players, upon a loss, the ability
16    to either purchase additional moves to complete the level, or watch an advertisement to
17    obtain additional moves. Following any in-game purchase, the advertising option is
18    removed, and the player’s only option is to pay to keep playing.
19                       Prior to first purchase Following first purchase
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 46 of 70 Page ID #:46




 1          108. For example, Candy Crush alters the prizing structure by offering players
 2    discounted purchases of special items for “hard levels” based on previous player
 3    experience.
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18          109. The Accused Products meet the limitation of a communication interface
19    adapted to couple bi-directional communications between the one or more remote users
20    utilizing electronic communication devices, as recited in Claim 1. For example, Candy
21    Crush Saga enables end user devices to transmit game information to server computers
22    operated by Defendant, and receive game information as well.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 47 of 70 Page ID #:47




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13          110. The Accused Products meet the limitation of a game processor coupled to
14    memory generating game play information, the game processor providing at least: the
15    game play information including game play with virtual money (vCoins), the virtual
16    money (vCoins) being acquired in response to a purchase utilizing the payment
17    information of the users, as recited in Claim 1. For example, Candy Crush Saga provides
18    “Gold Bars”, which are virtual money that can be acquired through game play, or
19    through purchase, and can be used to obtain various game items, as explained in support
20    pages for the game:
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                                                46                              COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 48 of 70 Page ID #:48




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17          111. The Accused Products meet the limitation of the virtual money (vCoins)
18    acquired in response to a purchase being subject to a multiplier, as recited in Claim 1.
19    For example, cash purchases of Candy Crush Saga’s “Gold Bars” are subject to a
20    multiplier, as shown below, where 10 bars are available for $1.99, and 50 bars are
21    available for $7.99.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 49 of 70 Page ID #:49




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13          112. The Accused Products meet the limitation of implementing a first set of
14    variable parameters to provide a first game play experience, and modifying the variable
15    parameters to provide a second set of variable parameters providing a second game play
16    experience, where the first game play experience differs from the second game play
17    experience, as recited in Claim 1.
18          113. For example, on information and belief, Candy Crush Saga stores alterable
19    variable parameters defining both the game play and prizing structure. These parameters
20    define, e.g., how the game is played, the likelihood of a win, and the prizes awarded for
21    a defined win. These parameters are “variable” in that they may be programmatically
22    and dynamically altered. On information and belief, the variable parameters that define
23    the game and prizing structure are altered when one or more threshold levels of the
24    mandated parameters concerning engagement and in-game purchases are met or crossed.
25          114. For example, Candy Crush Saga alters the composition of the opening and
26    in-play game board, and alters the likelihood of obtaining special items during game
27    play, in order to increase the chances of completing a level in the game.
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                                                 48                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 50 of 70 Page ID #:50




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13          115. For example, Candy Crush alters the likelihood of obtaining more powerful
14    special items in mini-games, and varies the frequency of mini-games and bonuses, in
15    order to increase the chances of completing a level in the game.
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                                                49                            COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 51 of 70 Page ID #:51




 1          116. For example, Candy Crush Saga initially offers players, upon a loss, the
 2    ability to either purchase additional moves to complete the level, or watch an
 3    advertisement to obtain additional moves.       Following any in-game purchase, the
 4    advertising option is removed, and the player’s only option is to pay to keep playing.
 5                       Prior to first purchase Following first purchase
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16          117. For example, Candy Crush alters the prizing structure by offering players
17    discounted purchases of special items for “hard levels” based on previous player
18    experience.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 52 of 70 Page ID #:52




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14          118. The Accused Products meet the limitation of memory storing account
15    information which varies through game play, as recited in Claim 1. For example, Candy
16    Crush Saga stores information about registered players, including their identity, and the
17    number of player points and special items accrued, which varies during game play.
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                                                 51                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 53 of 70 Page ID #:53




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14          119. The Accused Products meet the limitation of a decision engine for
15    performing game analytics on the game play, as recited in Claim 1. For example, Candy
16    Crush Saga tracks the number of monthly average users (MAUs, defined by Activision-
17    Blizzard as the number of players accessing the game within the last 30 days), and in-
18    game net bookings.     See https://investor.activision.com/news-releases/news-release-
19    details/activision-blizzard-announces-fourth-quarter-and-2021-financial. Candy Crush
20    Saga also tracks win rates for each level, and in-game purchases for each level.
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 54 of 70 Page ID #:54




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16          120. On information and belief, Candy Crush tracks numerous aspects of game
17    play, such as the frequency of play, the total amount of time played in a given period,
18    the amount of time since the last play, the win/loss rate, the number of plays on a given
19    level since the last win, the rate of progression through game levels, the number of in-
20    game purchases, and the frequency of in-game purchase.
21          121. The Accused Products meet the limitation of a prizing system to award a
22    win to the one or more remote users determined by a prizing structure, as recited in
23    Claim 1. For example, Candy Crush Saga maintains a prizing structure that awards wins
24    to game players in regular game play, daily and other periodic bonuses, and mini-games:
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                                                 53                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 55 of 70 Page ID #:55




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14          122. Accordingly, the Accused Products meet each and every limitation of
15    exemplary Claim 1 of the 164 Patent.
16          123. On information and belief, Activision Blizzard has induced and continues
17    to induce infringement of claims of the 164 Patent pursuant to 35 U.S.C. § 271(b),
18    including at least Claims 1, 2, 4, 5, 6, 7, 9, 11, 12, 13, 15, 19, 23, 24, and 29, by
19    encouraging its customers and other third parties to make and use the claimed systems,
20    such as by installing and using the Accused Products to play games that utilize mandated
21    parameters and variable parameters to dynamically alter game play by altering the game
22    structure or prizing parameters based on analysis of game play by the computer system,
23    and that utilize virtual currency obtained either through cash purchase or game play.
24          124. Such conduct constitutes infringement, literally or under the doctrine of
25    equivalents, of one or more claims of the 164 Patent by such third parties. Activision
26    Blizzard’s acts of encouragement include: providing and intending that third parties use
27    the Accused Products to play games; purposefully and voluntarily placing the Accused
28    Products that utilize mandated parameters and variable parameters to dynamically alter

                                                54                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 56 of 70 Page ID #:56




 1    game play by altering the game structure or prizing parameters based on analysis of
 2    game play by the computer system, and utilize virtual currency, in the stream of
 3    commerce with the expectation that they will be used by customers. For example,
 4    Activision Blizzard makes Candy Crush Saga available on “app stores” for iOS and
 5    Android, and on Facebook, so that users will download and play the game, resulting in
 6    infringement. As another example, Activision Blizzard provides FAQs and support
 7    documents explaining how to play Candy Crush Saga in a manner that results in
 8    infringement:
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22    https://candycrush.zendesk.com/hc/en-us/articles/13940218109469-Learn-all-about-
23    the-Color-Bomb#%20.
24          125. As another example, Activision Blizzard provides support and instruction
25    in using Candy Crush Saga in a manner that infringes, including how to obtain and use
26    vCoins through cash purchase or game play:
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 57 of 70 Page ID #:57




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16          126. Furthermore, Activision Blizzard has actual knowledge of how the Accused
17    Products infringe when used in this manner, including when they are used by customers.
18    Activision Blizzard has undertaken these acts of encouragement with the specific intent
19    that end-users use such Accused Products as intended by Activision Blizzard in a manner
20    that infringes the asserted claims of the 164 Patent. Activision Blizzard proceeded in this
21    manner despite its actual knowledge of the 164 Patent and that the specific actions it is
22    actively inducing on the part of its customers and other third parties constitute
23    infringement of the 164 Patent at least as of the date of service of the Complaint in this
24    matter. At the very least, because Activision Blizzard is on notice of the 164 Patent and
25    the accused infringement, as of the date of the filing and/or service of this Complaint, it
26    is willfully blind regarding the infringement it has induced and continues to induce.
27          127. Activision Blizzard’s acts of infringement cause damage to Plaintiff, and
28    Plaintiff is entitled to recover from Activision Blizzard damages sustained as a result of

                                                  56                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 58 of 70 Page ID #:58




 1    Activision Blizzard’s infringement of the Asserted Patents, but in no event less than a
 2    reasonable royalty.
 3          128. Activision Blizzard’s acts of infringement, unless restrained and enjoined,
 4    will cause irreparable injury and damage to Plaintiff for which there is no adequate
 5    remedy at law.
 6          129. Activision Blizzard’s infringement of the Asserted Patents is exceptional
 7    and entitles Plaintiff to attorneys’ fees and costs incurred in prosecuting this action under
 8    35 U.S.C. § 285.
 9    VIII. COUNT III (INFRINGEMENT OF U.S. PATENT NO. 11,393,279)
10          130. Plaintiff repeats and realleges the allegations in the preceding paragraphs
11    as though fully set forth herein.
12          131. Upon information and belief, Activision Blizzard has directly infringed at
13    least Claims 1, 3-9, 13, 17, 18, 23, 25, 26, 28, and 29 of the 279 Patent in violation of
14    35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, by making,
15    using, selling, and/or offering to sell in the United States without authority products
16    which meet each limitation of the asserted claims, namely, the Accused Products
17    installed or operating on a computing device. For example, Activision Blizzard directly
18    infringes at least these claims of the 164 Patent when its software is installed on a
19    computing platform, such as when Activision Blizzard operates the Accused Products
20    for internal testing and development. For example, Candy Crush Saga meets each and
21    every limitation of exemplary Claim 1 of the 279 Patent, for the reasons explained
22    herein, including the use of mandated and variable parameters to dynamically alter the
23    structure and/or prizing of games.
24          132. Activision Blizzard’s acts of infringement cause damage to Plaintiff, and
25    Plaintiff is entitled to recover from Activision Blizzard damages sustained as a result of
26    Activision Blizzard’s infringement of the Asserted Patents, but in no event less than a
27    reasonable royalty.
28          133. Activision Blizzard’s acts of infringement, unless restrained and enjoined,

                                                   57                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 59 of 70 Page ID #:59




 1    will cause irreparable injury and damage to Plaintiff for which there is no adequate
 2    remedy at law.
 3            134. Activision Blizzard’s infringement of the Asserted Patents is exceptional
 4    and entitles Plaintiff to attorneys’ fees and costs incurred in prosecuting this action under
 5    35 U.S.C. § 285.
 6    IX.     COUNT IV (INFRINGEMENT OF U.S. PATENT NO. 10,650,635)
 7            135. Plaintiff repeats and realleges the allegations in the preceding paragraphs
 8    as though fully set forth herein.
 9            136. Upon information and belief, Activision Blizzard has directly infringed at
10    least Claims 1, 2, 4, 6, 8, 9, 10, 14-16, 17, 18, 21, 22, 23, 25, 27, and 29 of the 635 Patent
11    in violation of 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents,
12    by making, using, selling, and/or offering to sell in the United States without authority
13    products which meet each limitation of the asserted claims, namely, the Accused
14    Products installed or operating on a computing device. For example, Activision Blizzard
15    directly infringes at least these claims of the 635 Patent when its software is installed on
16    a computing platform, such as when Activision Blizzard operates the Accused Products
17    for internal testing and development. For example, Candy Crush Saga meets each and
18    every limitation of exemplary Claim 1 of the 635 Patent, for the reasons explained
19    herein, including the use of virtual currency acquired through a cash purchase and
20    subject to a multiplier, or through game play.
21            137. On information and belief, Activision Blizzard has induced and continues
22    to induce infringement of claims of the 635 Patent pursuant to 35 U.S.C. § 271(b),
23    including at least Claims 1, 2, 4, 6, 8, 9, 10, 14-16, 17, 18, 21, 22, 23, 25, 27, and 29, by
24    encouraging its customers and other third parties to make and use the claimed systems,
25    such as by installing and using the Accused Products to play games that utilize virtual
26    currency acquired through a cash purchase and subject to a multiplier, or through game
27    play.
28            138. Such conduct constitutes infringement, literally or under the doctrine of

                                                   58                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 60 of 70 Page ID #:60




 1    equivalents, of one or more claims of the 635 Patent by such third parties. Activision
 2    Blizzard’s acts of encouragement include: providing and intending that third parties use
 3    the Accused Products to play games; purposefully and voluntarily placing the Accused
 4    Products that utilize virtual currency, in the stream of commerce with the expectation
 5    that they will be used by customers. For example, Activision Blizzard makes Candy
 6    Crush Saga available on “app stores” for iOS and Android, and on Facebook, so that
 7    users will download and play the game, resulting in infringement. As another example,
 8    Activision Blizzard provides FAQs and support documents explaining how to play
 9    Candy Crush Saga in a manner that results in infringement:
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23    https://candycrush.zendesk.com/hc/en-us/articles/13940218109469-Learn-all-about-
24    the-Color-Bomb#%20.
25          139. As another example, Activision Blizzard provides support and instruction
26    in using Candy Crush Saga in a manner that infringes, including how to obtain and use
27    vCoins through cash purchase or game play:
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                                                59                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 61 of 70 Page ID #:61




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16          140. Furthermore, Activision Blizzard has actual knowledge of how the Accused
17    Products infringe when used in this manner, including when they are used by customers.
18    Activision Blizzard has undertaken these acts of encouragement with the specific intent
19    that end-users use such Accused Products as intended by Activision Blizzard in a manner
20    that infringes the asserted claims of the 635 Patent. Activision Blizzard proceeded in this
21    manner despite its actual knowledge of the 635 Patent and that the specific actions it is
22    actively inducing on the part of its customers and other third parties constitute
23    infringement of the 635 Patent at least as of the date of filing and/or service of the
24    Complaint in this matter. At the very least, because Activision Blizzard is on notice of
25    the 635 Patent and the accused infringement, as of the date of the filing and/or service
26    of this Complaint, it is willfully blind regarding the infringement it has induced and
27    continues to induce.
28          141. Activision Blizzard’s acts of infringement cause damage to Plaintiff, and

                                                  60                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 62 of 70 Page ID #:62




 1    Plaintiff is entitled to recover from Activision Blizzard damages sustained as a result of
 2    Activision Blizzard’s infringement of the Asserted Patents, but in no event less than a
 3    reasonable royalty.
 4          142. Activision Blizzard’s acts of infringement, unless restrained and enjoined,
 5    will cause irreparable injury and damage to Plaintiff for which there is no adequate
 6    remedy at law.
 7          143. Activision Blizzard’s infringement of the Asserted Patents is exceptional
 8    and entitles Plaintiff to attorneys’ fees and costs incurred in prosecuting this action under
 9    35 U.S.C. § 285.
10    X.    COUNT V (INFRINGEMENT OF U.S. PATENT NO. 11,501,607)
11          144. Plaintiff repeats and realleges the allegations in the preceding paragraphs
12    as though fully set forth herein.
13          145. Upon information and belief, Activision Blizzard has directly infringed at
14    least Claims 1, 2, 4, 6, 7, 11, 15, and 19 of the 607 Patent in violation of 35 U.S.C.
15    § 271(a), either literally or under the doctrine of equivalents, by making, using, selling,
16    and/or offering to sell in the United States without authority products which meet each
17    limitation of the asserted claims, namely, the Accused Products installed or operating on
18    a computing device, including operating servers to support the infringing game play. For
19    example, Activision Blizzard directly infringes at least these claims of the 607 Patent
20    when its software is installed on a computing platform, such as when Activision Blizzard
21    operates the Accused Products for internal testing and development. For example, Candy
22    Crush Saga meets each and every limitation of exemplary Claim 1 of the 607 Patent, for
23    the reasons explained herein, including the use of mandated and variable parameters to
24    dynamically alter the structure and/or prizing of games, and use of virtual currency
25    acquired through a cash purchase and subject to a multiplier, or through game play.
26          146. On information and belief, Activision Blizzard has induced and continues
27    to induce infringement of claims of the 607 Patent pursuant to 35 U.S.C. § 271(b),
28    including at least Claims 1, 2, 4, 6, 7, 11, 15, and 19, by encouraging its customers and

                                                   61                                COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 63 of 70 Page ID #:63




 1    other third parties to make and use the claimed systems, such as by installing and using
 2    the Accused Products to play games that utilize mandated parameters and variable
 3    parameters to dynamically alter game play by altering the game structure or prizing
 4    parameters based on analysis of game play by the computer system, and that utilize
 5    virtual currency obtained either through cash purchase or game play.
 6          147. Such conduct constitutes infringement, literally or under the doctrine of
 7    equivalents, of one or more claims of the 607 Patent by such third parties. Activision
 8    Blizzard’s acts of encouragement include: providing and intending that third parties use
 9    the Accused Products to play games; purposefully and voluntarily placing the Accused
10    Products that utilize mandated parameters and variable parameters to dynamically alter
11    game play by altering the game structure or prizing parameters based on analysis of
12    game play by the computer system, and utilize virtual currency, in the stream of
13    commerce with the expectation that they will be used by customers.
14          148. Activision Blizzard’s acts of encouragement include: providing and
15    intending that third parties use the Accused Products to play games; purposefully and
16    voluntarily placing the Accused Products that utilize mandated parameters and variable
17    parameters to dynamically alter game play by altering the game structure or prizing
18    parameters based on analysis of game play by the computer system, and utilize virtual
19    currency, in the stream of commerce with the expectation that they will be used by
20    customers. For example, Activision Blizzard makes Candy Crush Saga available on “app
21    stores” for iOS and Android, and on Facebook, so that users will download and play the
22    game, resulting in infringement. As another example, Activision Blizzard provides
23    FAQs and support documents explaining how to play Candy Crush Saga in a manner
24    that results in infringement:
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                                                62                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 64 of 70 Page ID #:64




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15    https://candycrush.zendesk.com/hc/en-us/articles/13940218109469-Learn-all-about-
16    the-Color-Bomb#%20.
17          149. As another example, Activision Blizzard provides support and instruction
18    in using Candy Crush Saga in a manner that infringes, including how to obtain and use
19    vCoins through cash purchase or game play:
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 65 of 70 Page ID #:65




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16          150. Furthermore, Activision Blizzard has actual knowledge of how the Accused
17    Products infringe when used in this manner, including when they are used by customers.
18    Activision Blizzard has undertaken these acts of encouragement with the specific intent
19    that end-users use such Accused Products as intended by Activision Blizzard in a manner
20    that infringes the asserted claims of the 607 Patent. Activision Blizzard proceeded in
21    this manner despite its actual knowledge of the 607 Patent and that the specific actions
22    it is actively inducing on the part of its customers and other third parties constitute
23    infringement of the 607 Patent at least as of the date of filing and/or service of the
24    Complaint in this matter. At the very least, because Activision Blizzard is on notice of
25    the 607 Patent and the accused infringement, as of the date of the filing and/or service
26    of this Complaint, it is willfully blind regarding the infringement it has induced and
27    continues to induce.
28          151. Activision Blizzard’s acts of infringement cause damage to Plaintiff, and

                                                64                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 66 of 70 Page ID #:66




 1    Plaintiff is entitled to recover from Activision Blizzard damages sustained as a result of
 2    Activision Blizzard’s infringement of the Asserted Patents, but in no event less than a
 3    reasonable royalty.
 4           152. Activision Blizzard’s acts of infringement, unless restrained and enjoined,
 5    will cause irreparable injury and damage to Plaintiff for which there is no adequate
 6    remedy at law.
 7           153. Activision Blizzard’s infringement of the Asserted Patents is exceptional
 8    and entitles Plaintiff to attorneys’ fees and costs incurred in prosecuting this action under
 9    35 U.S.C. § 285.
10    XI.    COUNT VI (INFRINGEMENT OF U.S. PATENT NO. 10,825,294)
11           154. Plaintiff repeats and realleges the allegations in the preceding paragraphs
12    as though fully set forth herein.
13           155. Upon information and belief, Activision Blizzard has directly infringed at
14    least Claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 13, 16, 17, 18, 19, and 20 of the 294 Patent in violation
15    of 35 U.S.C. § 271(a), either literally or under the doctrine of equivalents, by making,
16    using, selling, and/or offering to sell in the United States without authority products
17    which meet each limitation of the asserted claims, namely, the Accused Products
18    installed or operating on a computing device. For example, Activision Blizzard directly
19    infringes at least these claims of the 294 Patent when its software is installed on a
20    computing platform, such as when Activision Blizzard operates the Accused Products
21    for internal testing and development. For example, Candy Crush Saga meets each and
22    every limitation of exemplary Claim 1 of the 294 Patent, for the reasons explained
23    herein, including the use of virtual currency acquired through a cash purchase and
24    subject to a multiplier, or through game play.
25           156. On information and belief, Activision Blizzard has induced and continues
26    to induce infringement of claims of the 294 Patent pursuant to 35 U.S.C. § 271(b),
27    including at least Claims 1, 2, 3, 4, 5, 6, 7, 8, 9, 13, 16, 17, 18, 19, and 20, by encouraging
28    its customers and other third parties to make and use the claimed systems, such as by

                                                     65                                  COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 67 of 70 Page ID #:67




 1    installing and using the Accused Products to play games that utilize virtual currency
 2    acquired through a cash purchase and subject to a multiplier, or through game play. Such
 3    conduct constitutes infringement, literally or under the doctrine of equivalents, of one or
 4    more claims of the 294 Patent by such third parties.
 5          157. Activision Blizzard’s acts of encouragement include: providing and
 6    intending that third parties use the Accused Products to play games; purposefully and
 7    voluntarily placing the Accused Products that utilize virtual currency, in the stream of
 8    commerce with the expectation that they will be used by customers. For example,
 9    Activision Blizzard makes Candy Crush Saga available on “app stores” for iOS and
10    Android, and on Facebook, so that users will download and play the game, resulting in
11    infringement. As another example, Activision Blizzard provides FAQs and support
12    documents explaining how to play Candy Crush Saga in a manner that results in
13    infringement:
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     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 68 of 70 Page ID #:68




 1    https://candycrush.zendesk.com/hc/en-us/articles/13940218109469-Learn-all-about-
 2    the-Color-Bomb#%20.
 3          158. As another example, Activision Blizzard provides support and instruction
 4    in using Candy Crush Saga in a manner that infringes, including how to obtain and use
 5    vCoins through cash purchase or game play:
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22          159. Furthermore, Activision Blizzard has actual knowledge of how the Accused
23    Products infringe when used in this manner, including when they are used by customers.
24    Activision Blizzard has undertaken these acts of encouragement with the specific intent
25    that end-users use such Accused Products as intended by Activision Blizzard in a manner
26    that infringes the asserted claims of the 294 Patent.
27          160. Activision Blizzard proceeded in this manner despite its actual knowledge
28    of the 294 Patent and that the specific actions it is actively inducing on the part of its

                                                  67                               COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 69 of 70 Page ID #:69




 1    customers and other third parties constitute infringement of the 294 Patent at least as of
 2    the date of filing and/or service of the Complaint in this matter. At the very least,
 3    because Activision Blizzard is on notice of the 294 Patent and the accused infringement,
 4    as of the date of the filing and/or service of this Complaint, it is willfully blind regarding
 5    the infringement it has induced and continues to induce.
 6          161. Activision Blizzard’s acts of infringement cause damage to Plaintiff, and
 7    Plaintiff is entitled to recover from Activision Blizzard damages sustained as a result of
 8    Activision Blizzard’s infringement of the Asserted Patents, but in no event less than a
 9    reasonable royalty.
10          162. Activision Blizzard’s acts of infringement, unless restrained and enjoined,
11    will cause irreparable injury and damage to Plaintiff for which there is no adequate
12    remedy at law.
13          163. Activision Blizzard’s infringement of the Asserted Patents is exceptional
14    and entitles Plaintiff to attorneys’ fees and costs incurred in prosecuting this action under
15    35 U.S.C. § 285.
16    XII. JURY DEMAND
17          164. Plaintiff respectfully demands a jury trial on all issues and claims so triable.
18    XIII. PRAYER FOR RELIEF
19          165. WHEREFORE, Plaintiff respectfully requests this Court enter judgment in
20    its favor and grant the following relief against Activision Blizzard:
21          a) Judgment that Activision Blizzard infringed and continues to infringe the
22              Asserted Patents;
23          b) Award Plaintiff damages in an amount adequate to compensate Plaintiff for
24              the infringement of the Asserted Patents by Activision Blizzard, but in no event
25              less than a reasonable royalty under 35 U.S.C. § 284;
26          c) Award Plaintiff pre-judgment and post-judgment interest to the full extent
27              allowed under the law;
28          d) Award Plaintiff costs;

                                                   68                                 COMPLAINT
     Case 2:24-cv-04056-AB-MRW Document 1 Filed 05/15/24 Page 70 of 70 Page ID #:70




 1          e) Enter an order finding this to be an exceptional case and award Plaintiff
 2             reasonable attorneys’ fees pursuant to 35 U.S.C. § 285;
 3          f) Order an accounting of damages; and
 4          g) Award such other relief as the Court may deem appropriate and just under the
 5             circumstances.
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 7    Dated: May 15, 2024                  Respectfully submitted,
 8
                                           /s/ Matthew D. Powers
 9                                         Matthew D. Powers (Bar No. 104795)
10                                         matthew.powers@tensegritylawgroup.com
                                           William P. Nelson (Bar No. 196091)
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12                                         TENSEGRITY LAW GROUP, LLP
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13                                         Redwood Shores, CA 94065
14                                         Telephone: (650) 802-6000
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16                                         Attorneys for Plaintiff
                                           Milestone Entertainment, LLC
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                                               69                             COMPLAINT
